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                        IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                CRIMINAL NO.        19   -

                                                        Date Filed: January 22,2019

GEORGE PELTZ                                            VIOLATIONS:
                                                        26 U.S,C. $ 7201 (tax evasion - I count)
                                                        26 U.S.C. $ 7202 (failing to pay over
                                                        payrolltaxes-lcount)
                                                        18 U.S.C. S 664 (theft       from employee
                                                        benefitplans-lcount)
                                                        29 U.S.C. $ 186(aX2) & (dX2) (unlawful
                                                        payments to a union official -      I   count)

                                      INFORMATION

                                           COUNT ONE,

                                          TAXEVASION
                                         26 U.S.C. $ 720r

THE ACTING UNITED STATES ATIORNEY CHARGES THAT:

                At all times inaterial to this Information:

       l.       Defendant GEORGE PELTZ was an owner and operator of MJK Electric

(*MJK),     an electrical contracting company   with offices in the Eastem District of Pennsylvania

and New Jersey.    lvflK served customers primarily in Philadelphia and employed approximately

40 people.

       2.       MJK was an S corporation, which filed       a   yearly Intemal Revenue Service

("lRS") Form 11205, U.S. Income Tax Retum for an           S Corporation, but which passed corporate


revenue, income, losses, deductions, and credits through to its shareholders for federal tax

purposes. Thus, defendant GEORGE PELTZ, a shareholder, was required to report the




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corporate income he eamed from MJK on his yearly Internal Revenue Service Form 1040, U.S.

Individual Income Tax Retum.

        3.      Defendant GEORGE PELTZ kept payments to MJK of less than $10,000 offthe

books and records of MJK, and he cashed these checks payable to MJK, in the total amount   of

approximately $1,504,399, at a check cashing service. Defendant PELTZ retained some of the

cash for personal use, and used some to pay MJK employees in cash.

        4.      Defendant GEORGE PELTZ used a corporate credit card issued to MJK to make

approximately $101,099 in personal expenditures, all of which constituted income to defendant

PELTZ.

        5.      Defendant GEORGE PELTZ did not inform MJK accountants and his personal

tax preparers about the cash he took from MJK, the cash payroll, and the personal expenditures

he made with the MJK credit card.

        6.      From in or about January 2012, through in or about December 2015, in the

Eastem District ofPennsylvania and elsewhere, defendant



                                     GEORGEPELTZ

willfrrlly evaded and defeated, and attempted to evade and defeat, the payment of approximately

$336,807 in personal income tax due and owing by him for the tax years 2012,2013,2014, utd

2015.

                In violation of Title 26, United States Code, Section 7201.
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                                       COUNT TWO

                       FAILING TO PAY OVER PAYROLL TAXES
                                      26 U.S.C. $ 7202

TIIE ACTING TII\ITED STATES ATTORNEY FURTHER CHARGES THAT:

        1.     Paragraphs 1 through 3 ofCount One are incorporated here.

        2.     As an employer, defendant CEORGE PELTZ was required by federal law to

collect, truthirlly account for, and pay over to the United States, certain pal, oll taxes. These

included MJK employees' withheld federal income taxes ("FIT") and Federal Insurance

Contribution Act taxes ("FICA"), that is, Social Security and Medicare taxes. Defendant

PELTZ also was required by federal law to report and pay over to the United States, through

MJK,   a matching arnount   of the FICA taxes for each employee' During 2012 through 2015,

PELTZ failed to pay over $173,040 in payroll taxes.

        3.      Defendant GEORGE PELTZ paid certain MJK employees cash wages for

overtime and weekend work, and he paid other MJK employees cash wages for all work

performed for MJK.

        4.     Defendant GEORGE PELTZ instructed his bookkeeper to report to MJK's payroll

service providers only the hours worked by MJK employees during the regular 40-hour work

week, excluding all work hours for which MJK employees were paid in cash. Thus, the payroll

service provider withheld and paid over to the Intemal Revenue Service only the federal income

taxes and Social Security and Medicare taxes for the employee wages disclosed to it by MJK,

but nor the taxes for the cash wag es PELTZ paid his employees. Additionally, defendant

PELTZ instructed the bookkeeper not to pay over to the United States MJK'S matching amount

ofthe FICA taxes that should have been withheld, but were not.
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       5.      Defendant GEORGE PELTZ did not inform MJK accountants and his personal

tax preparers about the cash wages he paid to his employees.

       6.       From in or about January 2012, through in or about December 2015, in the

Eastem District of Pennsylvania and elsewhere, defendant

                                  GEORGE PELTZ

failed to deduct and collect MJK employees' federal income taxes ('FIT") and Federal Insurance

Contribution Act taxes ("FICA"), that is, Social Security and Medicare taxes, and willfully

failed to account truthfully for and pay over to the Intemal Revenue Service, approximately

$173,040, which represented MJK employees' FIT and FICA taxes, and the required matching

employer-paid FICA taxes, for tax years 2012,2013,2014, and 2015.

               In violation of Title 26, United States Code, Section 7202.




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                                       COUNT THREE

                     THEFT FROM EMPLOYEE BENEFIT PLANS
                                 r8 u.s.c $ 664

THE ACTING UNITED STATES ATTORNEY FURTHER CHARGES THAT:

       1.      Paragraphs 1 through 5 ofCount Two are incorporated here.

       2.      The Intemational Brotherhood of Electrical Workers C'IBEW) was a labor

union headquartered in Washington, D.C. that represented electricians. Defendant GEORGE

PELTZ and MJK employed union electricians who were members of IBEW Locals 98, 351, and

654. The IBEW Local Unions were labor organizations engaged in an industry affecting

commerce within the meaning of Sections 402(i) and 402(9) of Title 29, United States Code.

       3.      Defendant GEORGE PELTZ, on behalfofMJK, agreed to be bound by

collective bargaining agreements between management and these IBEW Locals. These

collective bargaining agreements govemed all aspects of the labor-management relationship

between MJK and the unions, including working conditions, wages, union dues, employnent

procedures, and contributions to employee benefit plans.

       4.      The collective bargaining agreements required MJK: 1) to submit monthly

payroll reports to the local unions, which identified MJK's union workers and the hows they

worked; and 2) to make contributions on behalfofthe employees to various employee benefit

plans and funds, based upon those working hours and the workers' pay rate and experience, as

set forth in the collective bargaining agreements described above.

       5.      Each plan and fund was subject to Title I of the Employee Retirement Income

Security Act of 1974, ("ERISA"), as amended Title 29, United States Code, Section 1001, er

seq., a federal law enacted to protect employee pension and welfare benefit plans and their




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participants and beneficiaries by regulating reporting, record keeping, disclosure, and other

matters affecting the operations of such plans.

       6.      Defendant GEORGE PELTZ directed his employees to prepare false month-ly

palroll reports for the local unions, which identified MJK's union workers but only reported

their hours within the regular 40-hour week, not the overtime hours for which defendant PELTZ

paid his employees cash, and not the hours of certain employees PELTZ paid entirely with cash.

PELTZ also directed that MJK's contributions to the unions' benefit funds be based upon only

the reported work hours, not the hours paid in cash. By doing so, PELTZ stole hundreds     of

thousands ofdollars, which he should have contributed to his employees' union benefit plans

and funds.

       7.       During 2012 through 2015, PELTZ failed to pay approximately $468,234 in

contributions to rmion benefit plans on behalfofhis union employees.

       8.       During in or about January 2012 through in or about December 2015, in the

Eastem District ofPennsylvania and elsewhere, defendant

                                     GEORGE PELTZ

embezzled, stole, and unlawfully and willfully converted to his own use, approximately

$468,234 of the moneys and funds ofthe employee benefit plans of IBEW Locals 98, 351, and

654 which were subject to Title I of the Employee Retirement Income Security Act (ERISA)        of

1974, or connected to a fund that was subject to ERISA.

                In violation of Title 18, United States Code, Section 664.




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                                          COUNT FOUR

               MAKING UNLAWFUL PAYMENTS TO A UNION OFFICIAL
                                          29 U.S.C. $ 186

THE ACTING UNITED STATES ATTORNEY FURTHER CHARGES THAT:

       l.      Paragraphs   I   and 2 of Count Three are incorporated here.

       2.      Section 302 of the Labor Management Relations Act ("LMRA" or "Taft-Hartley

Act"),29 U.S.C. $ 186, prohibited certain financial transactions involving the payment and

delivery ofmoney and other things ofvalue from employers and persons acting in the interest       of

employers to the officers and employees of labor organizations. Employers were permitted to

engage in financial transactions with officers and employees   oflabor organizations, but only   if
the transaction was "at the prevailing market price in the regular course ofbusiness."

       3.      Local Union 98 ofthe International Brotherhood ofElectrical Workers (hereafter

"Local 98") was   a labor organization   which was engaged in commerce and which represented,

sought to represent and would admit to membership, employees who were employed in an

industry affecting commerce as those terms are defined in 29 U.S.C. $142 and $ 152, that is, the

electrical construction industry in eastem Pennsylvania. Local 98 Official No. l, whose identity

is known to the Acting United States Attomey, was an officer and employee of Local 98.

       4.      MJK Electric was an electrical construction employer whose employees were

employed in the electrical construction industry, in eastem Pennsylvania and elsewhere, and

whose employees Local 98 represented, sought to represent and would admit to membership,

pursuant to labor agreements between MJK Electric and Local       98. As the owner and operating

officer of MJK Electric, defendant GEORGE PELTZ was a person acting in the interest       of

employer MJK Electric.

       5.      Defendant GEORGE PELTZ provided the following things of value, free        of

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charge, to, or at the request of, Local 98 Official No.   1   :


                    a.     During 2012 and 2013, MJK Electric purchased and installed a security

system, and LED displays, with a retail value of $37 ,377 , in a business partially owned by Local

98 Official No.     l.

                    b.     Between January 2012 and July 2016, MJK Electric performed electrical

maintenance work, with a value of approximately $2,900, at the home        ofa relative ofLocal   98

Official No.   l.
                    c.     In March 2014, MJK Electric purchased and installed large screen

televisions, with a retail value of $4,207, in the home of Local 98 Oflicial No.   l.

                    d.     In December 2015 and January 2016, MJK Electric purchased and

installed large screen televisions and a security system, with a retail value of$19,882, in the

home of a family member of Local 98 Offtcial No. 1.

                    e.     Between April 2013 and April 2016, defendant GEORGE PELTZ gave

Local 98 Official No. 1 gift cards and gift certificates worth $5,500 fiom Boyd's, a clothing

store in Philadelphia.

        6.          From in or about January 2012 to in or about July 2016, in the Eastem District of

Pennsylvania and elsewhere, defendant

                                       GEORGE PELTZ

unlawfully and willfully paid, lent and delivered money and other things of value exceeding

$1,000, as described in paragraphs 5a through 5e, above, from MJK Electric and persons acting

in the interest of MJK Electric to Local 98 Official No. 1, an offrcer and employee of Local 98,




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which represented, sought to represent, and would admit to membership, employees of MJK

Electric, who were employed in an industry affecting commerce.

           In violation of Title 29, United States Code, Sections 186(a)(2) and (d)(2).



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                                                        ARBITTIER WILLIAMS
                                            Attorney for the United States, Acting Under
                                            Authority Conferred by 28 U.S,C. $ 515




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